(Rev. 12/1/2018)
                        Case 4:24-cv-00152-JM Document 7 Filed 04/18/24 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Eastern District of Arkansas



Keonna Johnson



                             Plaintiff
                                v.                             )      Case No. 4:24-cv-00152-JM
                                                               )
Muhyadin Gedi, et al                                           )
                                                               )
                                                               )

                            Defendant

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
          Plaintiff Keonna Johnson.


                                                                                                                          .


Date: April 18, 2024
                                                                      Lee Curry, Ark. Bar No. 2014153
                                                                                 Attorney's printed name and bar number




                                                                      124 W. Capitol Ave., Ste. 1820, Little Rock, AR 72201
                                                                                               Address


                                                                      lcurry@daspitlaw.com
                                                                                           E-mail address


                                                                      (501) 512-0367
                                                                                          Telephone number


                                                                      (713) 587-9086
                                                                                             FAX number
